       Case 2:18-cv-09276-DMG-PLA Document 9 Filed 11/04/18 Page 1 of 5 Page ID #:63

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11                           UNITED STATES DISTRICT COURT
12                          CENTRAL DISTRICT OF CALIFORNIA

13      CLAUDIA SARAHI RUEDA VIDAL,                    Case No. 2:18-cv-9276
14
                           Plaintiff,                  COMPLAINT FOR
15                                                     DECLARATORY AND
16           vs.                                       INJUNCTIVE RELIEF AND
                                                       DAMAGES;
17      U.S. DEPARTMENT OF HOMELAND                    DEMAND FOR JURY TRIAL
18      SECURITY; U.S. CITIZENSHIP AND
        IMMIGRATION SERVICES; U.S.
19      IMMIGRATION AND CUSTOMS
20      ENFORCEMENT; U.S. CUSTOMS AND
        BORDER PROTECTION; U.S. BORDER
21      PATROL; LEE FRANCIS CISSNA,
22      Director of USCIS, in his official capacity;
        KATHY A. BARAN, Director of USCIS
23      California Service Center, in her official
24      and individual capacities; ANDREW K.
        BOLTON, DANIEL BRIGHTMAN, and
25      DOES 1 through 10, USCIS agents and
26      U.S. Border Patrol officers, in their
        individual capacities,
27
28                         Defendants.


                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES;
                                      DEMAND FOR JURY TRIAL
Case 2:18-cv-09276-DMG-PLA Document 9 Filed 11/04/18 Page 4 of 5 Page ID #:66



Summons – Addendum of Defendants’ addresses
Rueda Vidal v. DHS et al., 2:18-cv-09276-DMG (PLAx)

Defendants’ names and addresses

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                   Summons – Addendum of Defendants’ addresses
                Rueda Vidal v. DHS et al., 2:18-cv-09276-DMG (PLAx)
Case 2:18-cv-09276-DMG-PLA Document 9 Filed 11/04/18 Page 5 of 5 Page ID #:67



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